




NO. 07-06-0179-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



MAY 11, 2006

______________________________



IN RE MICHAEL LOU GARRETT, &nbsp;



Relator

_______________________________



Memorandum Opinion

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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

 Michael Lou Garrett, acting 
pro se
, petitioned for a writ of mandamus asking us to order respondent, the district clerk of Potter County, to forward him a copy of the dismissal order entered in his lawsuit against Jack M. Borden,
 et al
. in cause number 94,198-A, Potter County, Texas. &nbsp;Garrett, who is incarcerated, alleges that he requested a copy of the dismissal order after receiving notice from the Potter County District Clerk that the cause had been dismissed on March 31, 2006. &nbsp;So too does he allege that he needs a copy of the order to effectively prosecute an appeal now pending with this court. &nbsp;Why the copy of the dismissal order that will be included in the appellate record will not suffice goes unmentioned. &nbsp;Nonetheless, we have attached a copy of the particular decree to this opinion for Garrett’s perusal and overrule the petition for writ of mandamus as moot.



Per Curiam


